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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                       UNITED STATES DISTRICT CONR~L. E. D
                                          SOUTHERN DISTRICT OF CALIF0Rl'lI!ffiIlY 28                           AM 9: 50
             UNITED STATES OF AMERICA                               JUDGMENT               I]\/I~.{:m~lJ;C~fiiil~
                                  V.                                (For Offenses Commith\\l'OhJ/lr 1AftNt4MelitB'er , 1987)
                 EDUARDO SANCHEZ (5)
                                                                       Case Number: ".,13CR0492-GPC                 OEPUTY

                                                                    JEREMYD. WARREN
                                                                    Defendant's Attorney
REGISTRATION NO.                  37451298

D -
~    pleaded guilty to count(s)         1 of the Superseding Information.

D was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                        Count
Title & Section                    Nature of Offense                                                                   Number(s)
21 USC 841(a)(I),846               Conspiracy to Distribute Methamphetamine                                                  1




    The defendant is sentenced as provided in pages 2 through                 4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
~    Count(s)   Underlying Indictment                         is          dismissed on the motion of the United States.

      Assessment: $100.00.
~



~     Fine waived            D Forfeiture pursuant to order filed                                                 , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    May 23. 2014
                                                                    Date ofImposition of Sentence

                                                                                  (i2A-J?tQ

                                                                                                                      13CR0492-GPC
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                                                IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
60 months.




o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
~     The court makes the following recommendations to the Bureau of Prisons:
      That the he participate in the Residential Drug Abuse Program (RDAP) and that he be designated to an
      institution in the Western Region of the United States.



o     The defendant is remanded to the custody of the United States Marshal.

o     The defendant shall surrender to the United States Marshal for this district:
      o at _ _ _ _ _ _ _ _ A.M.                          on _____________________________________

      o     as notified by the United States Marshal.

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
o     Prisons:
      o     on or before
      o    as notified by the United States Marshal.
      o     as notified by the Probation or Pretrial Services Office.

                                                      RETURN
I have executed this judgment as follows:

      Defendant delivered on   _ _ _ _ _ _ _ _ _ _ _ _ _ _ to

at _______________________ , with a certified copy of this judgment.


                                                                UNITED STATES MARSHAL



                                   By                     DEPUTY UNITED STATES MARSHAL



                                                                                                       13CR0492-GPC
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                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
4 years.



     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or aj/er September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o        substance abuse. (Check, if applicable.)
         The defendant shall not possess a frrearm, ammunition, destructive device, or any other dangerous weapon.
         The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
         Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
         The defendant shall comply with the requirements o{the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o        seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
         resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o        The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          Ifthis judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
     of Payments set forth in this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
     with any special conditions imposed.
                                          STANDARD CONDITIONS OF SUPERVISION
    1)     the defendant shall not leave the judicial district without the permission ofthe court or probation officer;
    2)     the defendant shaH report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
    4)     the defendant shall support his or her dependents and meet other family responsibilities;
    5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
           reasons;
    6)     the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
    7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
           any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)     the defendant shaH not frequent places where controHed substances are illegally sold, used, distributed, or administered;
    9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
           unless granted pennission to do so by the probation officer;
    10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any contraband
        observed in plain view ofthe probation officer;
    11) the defendant shaH notifY the probation officer within seventy~two hours of being arrested or questioned by a law enforcement officer;
    12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the permission of
           the court; and
    13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
        personal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the defendant's compliance
        with such notification requirement.



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                               SPECIAL CONDITIONS OF SUPERVISION
     1. Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer
        at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or
        evidence of a violation of a condition of release; failure to submit to a search may be grounds for
        revocation; the defendant shall warn any other residents that the premises may be subject to searches
        pursuant to this condition.

     2. Not enter or reside in the Republic of Mexico without permission of the court or probation officer.

     3. Report vehicles owned or operated, or in which you have an interest, to the probation officer.

     4. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
        and counseling, as directed by the probation officer. Allow for reciprocal release of information
        between the probation officer and the treatment provider. May be required to contribute to the costs of
        services rendered in an amount to be determined by the probation officer, based on ability to pay.

II




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